             Case 24-03056 Document 3 Filed in TXSB on 06/03/24 Page 1 of 8




                           UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

JOANNA BURKE,                                           §                   Bankruptcy Case No. 24-30855
                                                        §
         Plaintiff,                                     §
                                                        §
v.                                                      §         Adversary Proceeding No. 24-AP-3056
                                                        §
DEUTSCHE BANK NATIONAL                                  §
TRUST COMPANY, PHH                                      §
MORTGAGE CORPORATION, AVT                               §
TITLE SERVICES, LLC, DOES 1-10,                         §
                                                        §
         Defendants.                                    §

                           PHH MORTGAGE CORPORATION’S
                      MOTION FOR WITHDRAWAL OF THE REFERENCE

        Defendant PHH Mortgage Corporation (“PHH”) respectfully moves to withdraw the

Reference pursuant to 28 U.S.C. §157(d) and Rule 5011 of the Federal Rules of Bankruptcy

Procedure, and would respectfully show the Court as follows:

                                                     I.
                                           Basis for Withdrawal

        1.       Joanna Burke (“Plaintiff” or “Burke”) has engaged in a scorched earth campaign

against her mortgagee and mortgage servicer for the past decade. Plaintiff’s campaign has included

no less than four appeals to the Fifth Circuit, with each appeal being rejected. 1

        2.       After recent approval to proceed with foreclosure by the Fifth Circuit, Plaintiff’s

real property was posted for foreclosure. See, Deutsche Bank Nat’l Trust Co. v. Burke, 902 F.3d




1
 See: (1) Deutsche Bank National Trust Company v. Burke, 655 Fed. Appx. 251 (5th Cir. 2016); (2) Deutsche Bank
National Trust Company v. Burke, 902 F.3d 548 (5th Cir. 2018); (3) Burke v. Ocwen Loan Servicing, L.L.C., 855 Fed.
Appx. 180 (5th Cir. 2021); and (4) Burke v. Ocwen Loan Servicing, L.L.C., No. 22-20504, 2023 WL 6374190 (5th
Cir. Apr. 25, 2023).

Motion to Withdraw the Reference                                                                      Page 1 of 8
H205-03 Burke
              Case 24-03056 Document 3 Filed in TXSB on 06/03/24 Page 2 of 8




548 (5th Cir. 2018) (“Given nearly a decade of free living by the Burkes, there is no injustice in

allowing [the] foreclosure to proceed”).

         3.       In response to the foreclosure posting, Plaintiff elected to file yet another lawsuit

in state court seeking temporary relief. Plaintiff’s request for a temporary restraining order to stop

the foreclosure was denied by the state court. Thereafter, Plaintiff filed consecutive bankruptcies,

both bankruptcies being dismissed for Plaintiff’s failure to comply with a Deficiency Order. See,

In Re Burke, Case No. 23-35083, In the United States Bankruptcy Court for the Southern District

of Texas. [ Doc. 15]. Also, In Re Burke, Case No. 24-30885, In the United States Bankruptcy Court

for the Southern District of Texas. [Doc. 24].

         4.       While the second bankruptcy was pending, PHH removed the state district court

lawsuit to the United States District Court for the Southern District of Texas. The case is pending

before the federal district court as Case No. 4:24-cv-00897 (“Federal Suit”). Also pending in that

suit is PHH’s motion to have Plaintiff declared a vexatious litigant. Id. [Doc. 11].

         5.       Despite the pendency of the Federal Suit, Plaintiff brought this adversary

proceeding re-asserting all of her claims already set out in the Federal Suit. See [Doc. 1, P. 11]

(“This complaint integrates the pleadings, exhibits and order as docketed in the Removed State

Case”) (emphasis added). In addition to re-asserting herein all of her “non-core” claims, Plaintiff

also advances claims in her adversary complaint that PHH violated the automatic stay when it

removed Plaintiff’s state court suit to federal court as well as that PHH foreclosed on the subject

real property in violation of the stay. See [Doc. 1].2 PHH liberally construes the additional claims

to be core claims, resulting in “arising under” jurisdiction.



2
  No foreclosure occurred, yet Plaintiff asserts that the sale occurred without having any basis in fact. Also, PHH’s
removal of Plaintiff’s state court suit was not done in violation of the automatic stay. The automatic bankruptcy stay
only works to stop suits “against bankrupt debtors, not suits filed by bankrupt debtors.” See, McMillian v. MBank Fort

Motion to Withdraw the Reference                                                                          Page 2 of 8
H205-03 Burke
             Case 24-03056 Document 3 Filed in TXSB on 06/03/24 Page 3 of 8




        6.       Good cause warrants permissive withdrawal of the Reference because procedural

and practical reasons dictate that the District Court should handle this case. 28 U.S.C. §157(d).

Every matter pending before the Court, as set out in the adversary complaint, is already pending

before the District Court; withdrawal of the reference would foster the economic use of judicial

resources in only having one suit advancing the same claims. Withdrawal of the Reference would

also reduce Plaintiff’s efforts at forum shopping. Additionally, Plaintiff has made a jury demand,

and her case involves both non-core issues that the Bankruptcy Court cannot finally decide. As

detailed below, the statutory standard for permissive withdrawal is plainly met.

                                                     II.
                                                  Argument

        7.       The predicates for withdrawing the reference of a case to a bankruptcy court are

found in 28 U.S.C. § 157(d). Section 157(d) provides:

        … [t]he district court may withdraw, in whole or in part, any case or proceeding
        referred under this section, on its own motion or on a timely motion of any party,
        for cause shown. The district court shall, on timely motion of a party, so withdraw
        a proceeding if the court determines that resolution of the proceeding requires
        consideration of both title 11 and other laws of the United States regulating
        organizations or activities affecting interstate commerce.

28 U.S.C. § 157(d). The statute contains two provisions. One sets forth a mandatory withdrawal

requirement when the case requires consideration of both the Bankruptcy Code and other federal

laws “regulating organizations or activities affecting interstate commerce.” Id. The other provides

for permissive withdrawal upon a showing of “cause.” Id. As set forth below, the requirements of

the permissive withdrawal provisions are met here. Further, this motion is timely brought within

90 days of the complaint being filed in this adversary proceeding. See, In re Bankruptcy

Jurisdiction, Gen. Order 2011-12 (S.D. Tex. Nov. 29, 2011).


Worth, N.A., 4 F.3d 362, 366 (5th Cir. 1993). The issue of whether PHH’s removal was proper is already briefed and
pending resolution by the district court. See, Case No. 4:24-cv-00897. [Doc. 8].

Motion to Withdraw the Reference                                                                       Page 3 of 8
H205-03 Burke
             Case 24-03056 Document 3 Filed in TXSB on 06/03/24 Page 4 of 8




        8.       A district court has discretion to withdraw a case referred to the bankruptcy court

“on timely motion of any party, for cause shown.” 28 U.S.C. § 157(d). The Fifth Circuit has held

that district courts should decide “cause” for permissive withdrawal of the reference by considering

a series of factors, those factors being whether: (1) the underlying lawsuit is a non-core proceeding;

(2) uniformity in bankruptcy administration will be promoted; (3) forum shopping and confusion

will be reduced; (4) economical use of the debtors’ and creditors’ resources will be fostered; (5)

the bankruptcy process will be expedited; and (6) a party has demanded a jury trial. See, Holland

Am. Co. v. Succession of Roy, 777 F.2d 992, 999 (5th Cir. 1985); In re Align Strategic Partners,

LLC, 2019 Bankr. LEXIS 1906 *5, 2019 WL 2524938 (Bankr. S.D. Tex. 2019).

A.      First Factor: The Underlying Suit Contains Both Core and Non-Core Matters.

        9.       Plaintiff’s complaint in this adversary proceeding incorporates her Second

Amended Complaint (the complaint on file at the time of removal) in the pending Federal Suit.

Therein, Plaintiff asserts claims for violation of the Texas Constitution, Malicious Use of Process,

Conspiracy, Fraud, Intentional Infliction of Emotional Distress, Mental Anguish (as an affirmative

claim), Texas Debt Collection Practices Act violations, Declaratory Relief, and Injunctive Relief.

The foregoing claims largely do not invoke substantive rights created by federal bankruptcy law

and could exist outside of the bankruptcy context and constitute “non-core” claims.” See generally,

Longhorn Partners Pipeline L.P. v. KM Liquids Terminals, L.L.C, 40 B.R. 90, 96 (Bankr. S.D.

Tex. 2009). However, the complaint filed in this adversary proceeding also asserts claims against

PHH that PHH violated the automatic bankruptcy stay (which it did not). This type of claim is a

“core” claim. See In re Lopez, 2015 Bankr. LEXIS 4017, 2015 WL 7572097 (providing that claims

pertaining to violations of §362 are core claims).




Motion to Withdraw the Reference                                                            Page 4 of 8
H205-03 Burke
          Case 24-03056 Document 3 Filed in TXSB on 06/03/24 Page 5 of 8




        10.     While containing both core and non-core claims, non-core claims predominate the

complaint. This factor weighs in favor of withdrawing the reference. When analyzing this factor,

the court must consider how a “bankruptcy judge’s authority … differs depending on whether the

subject matter is ‘core’ or ‘non-core.’” Lopez v. Portfolio Recovery Assocs. LLC, 2017 Bankr.

LEXIS 2221 *38 (Bankr. S.D. Tex. 2017). Specifically, bankruptcy courts are limited in power

over referred matters and issues that are “non-core.” Id. §157(b). If a proceeding is not a core

proceeding, the bankruptcy judge may only submit proposed findings of fact and conclusions of

law to the district court; only the district court may enter a final order, “after considering the

bankruptcy judge’s proposed findings and conclusions and after reviewing de novo those matters

to which any party has timely and specifically objected.” 28 U.S.C. §157(c)(i); Vela, 2007 U.S.

Dist. LEXIS 38997 at *9.

        11.     Because a district court must review de novo a bankruptcy court’s findings on non-

core matters, a finding that a proceeding is non-core strongly favors a withdrawal of reference.

See, Waldron v. Nat’l Union Fire Ins. Co (In re Ebaseone Corp.), Adv. No. No. 06-3197, 2006

Bankr. LEXIS 1861, *12 (Bankr. S.D. Tex. June 14, 2006).

B.      Second Factor: Uniformity in Bankruptcy Administration Will Be Promoted.

        12.     Regarding uniformity, nothing can be gained by having the Court preside over an

adversary proceeding related to a bankruptcy that was dismissed within thirty days of its filing for

non-compliance with Court’s Deficiency Order. As examined by the Court in prior cases, “If the

Bankruptcy Court maintains an ‘intimate familiarity’ with the case and has dedicated a large

amount of time and resources to the adversary proceeding, [then] this factor weighs heavily in

favor of denying the withdrawal of the reference.” In re Doctors Hosp. 1997, L.P., 351 B.R. 813,

868 (Bankr. S.D. Tex. 2006) (internal quotes omitted). Conversely, this factor favors withdrawal



Motion to Withdraw the Reference                                                          Page 5 of 8
H205-03 Burke
          Case 24-03056 Document 3 Filed in TXSB on 06/03/24 Page 6 of 8




when a motion to withdraw the reference is filed shortly after a complaint and the court has not

reached a significant level of familiarity with the case. In re EbaseOne Corp.,2006 Bankr. LEXIS

1861, 2006 WL 2405732 *4 (Bankr. S.D. Tex. 2006). Given that the adversary proceeding was

only filed about forty-five days ago, with no party having yet to answer (save this motion), this

factor weighs heavily in favor of the reference being withdrawn.

C.      Third Factor: Forum Shopping.

        13.     PHH has the right to defend the merits of Plaintiff’s suit in the United States District

Court for the Southern District of Texas. Removal was proper and much of the prior litigation

between the parties has occurred within the United States District Court for the Southern District

of Texas. Through this adversary proceeding Plaintiff is attempting to do nothing more than obtain

a second bite at the apple in the event the District Court rules against her on her claims. A major

consideration in favor of withdrawal of the reference is if there is an appearance of forum shopping

by a party, as is the case here. Levine v. M&A Custom Home Builder & Developer, LLC, 400 B.R.

200, 205 (S.D. Tex. 2008).

D.      Fourth Factor: Economical Use of Resources Will Be Fostered.

        14.     It would be economical for PHH and Plaintiff to litigate Plaintiff’s dispute in one

forum. The District Court is the most economical forum for the dispute to be resolved given the

existence of non-core issues as well as Plaintiff’s jury demand. Further, as displayed by the

contents of PHH’s Motion to Declare Joanna Burke a Vexatious Litigant, Burke has elected to sue

repeatedly, appeal constantly, and attempt to intervene in cases in other venues throughout the

United States. Decisions by the Bankruptcy Court as to non-core issues will most likely be

appealed, and further appealed to the Fifth Circuit.




Motion to Withdraw the Reference                                                              Page 6 of 8
H205-03 Burke
          Case 24-03056 Document 3 Filed in TXSB on 06/03/24 Page 7 of 8




        15.     Withdrawing the reference will eliminate at least one level of likely appeal – from

the bankruptcy court to the district court – whereby, saving judicial resources and speeding up

final resolution. Faced with the high likelihood of eventual appeals, other courts have withdrawn

the reference to avoid the extra layer of appellate review potentially arising from bankruptcy cases.

See, e.g., Abondolo v. GGR Holbrook Medford Inc., 285 B.R. 101, 113 (E.D.N.Y. 2002) (granting

a motion to withdraw the reference “because any appeal they would take of the bankruptcy court’s

ruling on those motions would ultimately be presented to this Court anyway”). PHH asserts that

economy of resources weighs in favor of withdrawal of the reference.

E.      Fifth Factor: The Bankruptcy Process Will Be Expedited.

        16.     “A district court should consider the importance of the proceeding to the

bankruptcy case and refuse to withdraw the reference if the withdrawal would unduly delay the

administration of the bankruptcy case.” Lopez v. Portfolio Recovery Assocs. LLC, 2017 Bankr.

LEXIS 2221 *38 (Bankr. S.D. Tex. 2017); relying on In re Doctors Hosp., 351 B.R. at 869. As

the bankruptcy has been dismissed, the withdrawal of the reference will neither expedite the

bankruptcy nor hinder the bankruptcy. As such, this factor appears to be neutral. See, Lopez v.

Portfolio Recovery Assocs. LLC, 2017 Bankr. LEXIS 2221 *42 (Bankr. S.D. Tex. 2017).

F.      Sixth Factor: A Party Has Demanded a Jury Trial

        17.     Plaintiff’s complaint demands a trial by jury. When analyzing the jury demand

factor, the Court must consider whether a jury demand is pending. Fed. R. Bankr. P. 9015

(incorporating Fed. R. Civ. P. 38). The existence of a jury demand weighs in favor of withdrawal

of the reference. Lopez v. Portfolio Recovery Assocs. LLC, 2017 Bankr. LEXIS 2221 *43 (Bankr.

S.D. Tex. 2017). As observed by the Bankruptcy Court, “If there is a valid demand made for a jury

trial and the Bankruptcy Court is unable to conduct the trial through consent, the appropriate course



Motion to Withdraw the Reference                                                           Page 7 of 8
H205-03 Burke
          Case 24-03056 Document 3 Filed in TXSB on 06/03/24 Page 8 of 8




of action is for the District Court to withdraw the reference so that it may conduct a jury trial.” In

re Align Strategic Partners, LLC, 2019 Bankr. LEXIS 1906 *5, 2019 WL 2524938 (Bankr. S.D.

Tex. 2019). Given the foregoing, this factor weighs heavily in favor of withdrawal of the reference.

                                              III.
                                          CONCLUSION

        Based on the foregoing, the District Court should withdraw the reference of this adversary

matter from the Bankruptcy Court and take Jurisdiction over this matter in its capacity as a court

of original jurisdiction.

                                               Respectfully submitted,

                                               By:    /s/ Mark D. Hopkins
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of June, 2024, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

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PRO SE PLAINTIFF
                                                      /s/ Mark D. Hopkins
                                                      Mark D. Hopkins



Motion to Withdraw the Reference                                                            Page 8 of 8
H205-03 Burke
